2:07-cv-02034-MPM-DGB # 1-1   Page 1 of 14
                                                             E-FILED
                              Thursday, 08 February, 2007 03:20:20 PM
                                         Clerk, U.S. District Court, ILCD




           Exhibit A
                                2:07-cv-02034-MPM-DGB # 1-1      Page 2 of 14
            Jan,.17 2 0 0 7 2:45PH     HP LRSERJET FRX

        .                                                               Q
"
    .
                                      @ ,




                             Caroh

                    3.   .   PI-r    husband, Jar~Blcmom,.apPlicdfm bdd rewiveda   dd & m t
                    2:07-cv-02034-MPM-DGB # 1-1           Page 3 of 14
Jsn 17 2007 2: +SPM             HP LRSERJET FRX




            ?   W   ,   m   S   T   BI;OxOM &&.DO< d s .q p u w i '&'tr~nsa@han,

            that -a or .w~               h ~.&&
                                      t -&          m=;sdant 3mOF ~
                                                              .          m c k
            N.k
            h.rn5,Esnp~oya:~
                          af-                m . a O Fm C & NA.# PldPtiil-

            EILELiNM, BLUXOM in ardarto collect du,debt.
            T ? I O ~ . ~ ~ ~ ~ E I ~ . E E P T U skeslgnedthecredtt
                                                  B L O X O M ~ ~ ~ ~

            dappIidan~andiso'dligrrtedtc~repaythcdebt      '




            wBANK UP ~                  C    AN.A.
                                                 , is inPsb~mOfth..&     cad i ~ = i m d
            ia a m .tbstPhdntiEF1Tf.TiRNa&BM3X0MM
                                                is.notan obligor.            ..:

           ' l k h gt&cvm)e of &gf&me &btmWon tebphcm d 8 , P
                                                            *
                   2:07-cv-02034-MPM-DGB # 1-1   Page 4 of 14

J a n ,17 20.07 2: 46Pfl   HP LRSERJET FRX
                    2:07-cv-02034-MPM-DGB # 1-1                   Page 5 of 14
Jan .17 8 0 0 7 2:4Sp.M      HP LAGERJET F R Y

                     .




               the Fajr Debt CollacltionPcaoticw Act,   IS U.S.C seciias 1692&3).
                L3ehuhtmDlERICg: J. HANNA. 62 ASS-TES                    is abmim8s o q p i d m

               with aplacb of-        lo&     at 1655 Enteqi8e Way, Ma&@            GA 30067.
              -D-ERIa-                 J      ~         ~     A      -      ~       ~    S      ~   L   i... ..___
                                                                                                                s  ~

               dtsncab.y.sg&m 803(6) of the Pair Debt C o U d n Practices Act, 15 U.S.C.
                                  Defbaht ~ F R E ] D E E U C KJ. XEANNA tk ASSOC;IAT1?S
               stdau 1692a(6). kfk,

               Qalawfmspecializinginthe cuaecticaandlitigationofgastdue~.

               Atalltirnes~tothismatfer.D~~ERIQKJ.HANNA&

               MSOCaATES was wllectingacanauma&bt as dcfinedby Section ID3(S) orf
               the FaiDebt CoIldw Prarsdces Act, 15 U8.C. l692a(5),
                   2:07-cv-02034-MPM-DGB # 1-1                 Page 6 of 14

J a n 17 200.7 2: 46PM




              D
              -            J3U3DERTC.K 3. MNNA & AS~OCIATES.hpIied
                                                                 W . alaw sPitsPit.will
              be fil&ifthe debtismpnidimmediataly.
              '   ~    ~     ~    X    Z     M     W     A     &     - W AW ~S . kS ~ b~    y _ , ., w

              DefPldrmxBank o%
                             -f               N A to      afaotauit a g a i n s t W ~ .

              ~ F R E D a R Z C K J . ~ & A S S ~ ~ S d o e s n o t 5 'k ~ i n                           ,




              bfidantPREDERICX 3. &WNA& ASSOCXATES.vioW the FDCPAwhen
              h ~ ~ i m p ~ e d t h g f a & w s a i t w o u l d b c ~ . ~ t b e d e b t i~na a t ~ d :
                    2:07-cv-02034-MPM-DGB # 1-1   Page 7 of 14

J a n - 17 2 0 0 7 2:46PH   H P LRSERJET FRW                     p..9

                       .    --'
                            Q                          c..
                                                        .c
              2:07-cv-02034-MPM-DGB # 1-1   Page 8 of 14

Jan 17 2007 2: +BPI(   HP LRSERJET F R X
                   2:07-cv-02034-MPM-DGB # 1-1   Page 9 of 14

J a h , 1 7 2U07 Z?:47PM   HP   LASERJET F R Y
           2:07-cv-02034-MPM-DGB # 1-1             Page 10 of 14
                    HP   LRSERJET F f l K




      Practices Act., 35 U.S.C. &on   159hf3).
      D&&t~t P J J J & J ~ E ~ N E =gCfiJLS      h L t k G ~ ~B
                                                              'CZi5 c
                                                              T




sb.
               2:07-cv-02034-MPM-DGB # 1-1   Page 11 of 14
Jan 17 2 0 0 7 2:4.8P1   HP LRSERJET FRI
                2:07-cv-02034-MPM-DGB # 1-1   Page 12 of 14

Jan 17 2007 2: W P f l   H P LASERJET F R X
2:07-cv-02034-MPM-DGB # 1-1   Page 13 of 14
              2:07-cv-02034-MPM-DGB # 1-1   Page 14 of 14

Jan. 17 2007 Z!:WPH   HP LRSERJET FRX
